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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7       ROCKMAN COMPANY (USA), INC., et                  Case No. 13-cv-04115-WHO
                                           al.,
                                   8                   Plaintiffs,                          ORDER GRANTING REQUESTS FOR
                                   9                                                        EXPEDITED BRIEFING AND FILING
                                                 v.                                         SUPPLEMENTAL BRIEF
                                  10
                                           NONG SHIM COMPANY, LTD, et al.,                  Re: Dkt. Nos. 725, 726
                                  11                   Defendants.
                                  12
                                               I GRANT defendants’ request to shorten time to hear their motion to exclude the
Northern District of California
 United States District Court




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                                       deposition testimony of Jung Soo Kim. Dkt. No. 725. Plaintiffs shall file a response on or before
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                                       3:00 p.m. Friday, April 13, 2018, and the issue will be addressed (at least preliminarily) at the
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                                       April 16, 2018 Pretrial Conference.1
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                                               Defendants’ somewhat related motion to supplement their opposition to plaintiffs’ Motion
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                                       in Limine No. 5 is also GRANTED. Dkt. No. 726. Plaintiffs may file a five page or less response
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                                       to that supplemental briefing on or before Friday, April 13, 2018 at 3:00 p.m.
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                                               IT IS SO ORDERED.
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                                       Dated: April 11, 2018
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                                  23                                                                 William H. Orrick
                                                                                                     United States District Judge
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                                  28     If additional fact investigation or briefing is required that cannot be completed within this short
                                       timeframe, I will set out a further briefing schedule following the Pretrial Conference.
